z. # .   ,Case
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                                       UNITED STATES DISTRICT COURT
                                       SOUTHERN DISTRICT OF FLORIDA

                                         CASE NO .18-20613-CR-M ARTINEZ



                 U M TED STA TES O F AM ERICA ,

                 VS.

                 SAM UEL BA PTISTE,
                                 D efendant.
                                                            /

                                                PLEA A GRKEM ENT

                        TheUnited StatesofAmericaandDefendantSAM UEL BAPTISTE (hereinafter
                 ttthedefendanf')enterintothefollowingagreement:
                        1.     The defendant agrees to plead guilty to Count6 ofthe lndictm ent,which

                 charges the defendant w ith Attem pting to Provide M aterial Support to Terrorists, in

                 violationTitle18,United StatesCode,Section 2339A(a).
                        2.     TheUnited Statesagreesto seek dismissalofcountsone(1)through five
                 (5)oftheindictment,aftersentencing.                       .
                        3.     The defendantisaw arethatthe sentence w illbe im posed by the cotu'
                                                                                                 tafter

                 considering the Federal Sentencing Guidelines and Policy Statements (hereinafter
                 çcsentencing Guidelines''). Thedefendantacknowledgesand tmderstandsthatthe court
                 will compute an advisory sentence tmder the Sentencing Guidelines and that the
           '
                 applicable guidelines willbe determined by the cotlrtrelying in pat'ton the results ofa

                 Pre-sentence Investigation by the court's probation office, which investigation w ill

                 com m ence afterthe guilty plea hasbeen entered. The defendantis also'aw are that,tm der

                 certain circllm stances,the courtm ay departfrom the advisory sentencing guideline range

                 thatithascomputed,andmayraiseorlowerthatqdvisoly se tenceund rJ eje te c'g
                                                                    roo          V       / ?
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     Guidelines. The defendantisfurtheraware and lmderstandsthatthe courtisrequired to

     considertheadvisory guidelinerangedetermined undertheSentencing Guidelines,butis

     notbound to im pose thatsentence;the courtispennitted to tailorthe ultim ate sentence in

     light of other statutory concerns, and such sentence m ay be either m oze severe or less

     severe than the Sentencing Guidelines' advisory sentence. Know ing these facts, the

     defendantunderstands and acknowledgesthatthe courthasthe authority to impose any

     sentence w ithin and up to the statm ory m axim lzm authorized by 1aw for the offçnses

     identified in paragraph 1 and thatthe defendantm ay notwithdraw llis plea solely as a

     resultofthe sentence im posed.

                   The United Staies agrees'
                                           thatitwillrecoznmend at sentencing thatthe
     courtreduce by two levels the sentencing guideline level applicable to the defendant's

     offense,pursuantto Section 3E1.1(a) ofthe Sentencing Guidelines,based upon the
     defendant'srecognition and aftsrmativeand tim ely acceptance ofpersonalresponsibility.

     If at the tim e of sentencing the defendant's offense level is determirled to be 16 or

     greater,the governm entwillm ake a motion requesting an additionalone leveldecrease

     puzsuantto Section 3E1.1(b)oftheSentencing G'
                                                 uidelùles,statingthatthedefendanthas
     assisted authorities in the investigation orprosecution ofhisown misconductby tim ely

     notifying authorities of his intention to enter a plea of guilty,thereby perm itling the

     governnnentto avoid preparing for trial and perm itting the governm ent and the courtto

     allocate thei.
                  rresources eo ciently. The Urtited States,how ever,w illnbtbe required to

     maketheserecommendationsifthedefendant:(1)failsorrefusestomakeaf'ull,accurate
     and complete discloslzre to the probation office of the circum stances surrounding the

     relevantoffense conduct;(2)isfound to have misrepresented factsto the government
     priorto entering into thispleaagreement;or(3)commitsany misconductaf4erentering
     into this plea agreem ent, including but not litnited to com m itling a state oy federal
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     offense,violating any term ofrelease,orm aking falsestatem entsorInisrepresentationsto

     any governm entalentity orofficial.

                   The United Statesand the defendantagree that,although notbinding on

     theprobation office orthe coult they willjointly recommend thatthe cout'tmake the
     following tindingsand conclusionsastothesentenceto beimposed:

                   a. BaseOffenseLevel: Pursuantto Section 2M 5.3(a),thebase offense
                       levelisa lével26.

                       Offense Characteristic'
                                             . Because the offense inkolved the provision

                       ofm aterialsuppol'torresourceswith the intent,knowledge,orreason

                       to believethey aretobeused to comm itorassistin thecomm ission of

                       aviolentact,thereisa2levelincreaseplzrsuantto2M 5.3(b)(1)(E).
                   c. T errorism Enhancem ent: Because the offense is a felony that

                       involved,or was intended to prom ote, a federal crime ofterrorism ;

                       there is        level increase in the base offense level and the

                       defendant'scrim inalhistory isincreased to'a category VI, plz'rsuantto

                       Section3A1.4(a).
                   d. Recommended Sentence:TheUnitedStatesand'thedefendantjointly
                       agree thatthe appropriate disposition of this case is, and agree to

                       jointly recommend, that the court impose a statm ory mnximum
                       sentence of 15 years imprisonm ent, followed by a lifetim e tenn of

                       supervised releaseptlrsuantto 18U.S.C.j 3583().The defendantis
                       aw are that the govelmnnent will argue to the Court at sentencing that

                       this sentence should be served consecutively to any other sentence

                       currentlybeingservedbythedefendant,puzsuantto18U.S.C.j3584.
            6.     The defendantfut-thertmderstands and acknowledges that,in addition to
                                           ;
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     ally sentence imposed irltllis case,a specialassessm entin the amountof one htmdred

     dollars($100)willbeimposed on the defendant. Thedefendantagteesthatany special
     assessm entim posed shallbe paid atthe tim e ofsentencing.

                    The defendant also understands and acknowledgesthatasto Cotmt6 of

     theindice ent,thecoul'tcan impose aterm ofimprisonm entofup to 15 years,followed

     by alifetimeterm ofsupervisedreleaseand afineofup to $250,000.
            8.      Defendantrecognizes thatpleading guilty may have consequences with

     respectto hisimmigration statusifheisnota citizen oftheUnited States.Underfederal

     law,a broad range of crim es are rem ovable offenses. Rem ovaland other imm igration

     consequences are the subject of a separate proceedipg,however, and the defendant
     tm derstands that no one,including his attom ey or the D istrict Court, can predict to a

     ceMainty theeffectofllisconviction on hisimmigration status. However,theDefendant

     nevertheless affirm s that he wants to plead guilty regardless'of any imm igration

     consequences that his plea m ay entail,even if the consequence is his rem ovalfrom 1he

     Ilréted States.

                    The Office of the U nited States Atlorney for the Southet'n D istrict of

     Florida (hereinafterttoffice''lreservesthe rightto infol'
                                                             m the courtand theprobation
     office of a1lfactspertinentto the sentencing process,including a1lrelevantinfonnation
                                                                                           $
     concerning the offenses connm it-ted,w hether charged or not, as w ell as concelming the

     defendantand the defendant'sbackgrotmd. Subjectonly to the expresstenus ofany
     agreed-upon sentencing recom m endations contained in this agreem ent,this Office further

     reserves the right to make any recomm endation as to the quality and quantity of

     punishm ent.

                       The defendant is aw are that the sentence has not yetbeen determ ined by

     the court. The defendantalso is aware thatany estim ate ofthe probable sentencing range

                                                   4
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     or sentence that the defendant m ay receive, whether that estim ate com es from the

     defendmy's at4orney,the government,orthe probation office,isa prediction,nota
     prom ise, and is not binding on the governm ent,the probation office or the coul't. The

     defendantunderstandsftzrtherthatany recornm endation thatthe governm entmalcesto the

     cou!'
         tasto sentencing,w hetherptlrsuantto tlzis agreem entor otherwise,is notbinding on

     the courtand the cout'tm ay disregard therecom m endation in itsentirety. Thedefendant

     understands and acknow ledges,as previously acknowledged in paragraph 3 above,that

     the defendantm ay notwithdraw hisplea based upon the court's decision notto accepta

     sentencing recom mendation m ade by the defendant,                   government,

     recommendationmadejoùltlybyboththedefendantandthegovernment.
                   The defendant is aw are that Title 18,U nited States Code, Section 3742

     affords the defendant the right to appeal the sentence im posed in this case.

     Acknowledging this,in exchange forthe tm dertaldngsm adeby the United Statesin this

     plea agreem ent,the defendr t hereby w aives all rights conferred by Section 3742 to

     appealany sentence im posed,including any restitution order,or to appealthe m anner in

     w hich the sentence w as im posed,unless the sentence exceedsthe m axim um perm itted by

     statute or is the result of an upw m'd departtlre or variance from the guideline range that

     thecoul'
            testablishesatsentencing. The defendantf'
                                                    urthertmderstandsthatnothing in this

     agreem ent shall affect the governm ent's right and/or du'
                                                              ty to appeal as setforth in Title

     18,United States Code,Section 3742(19. However,ifthe United States appeals the
     defendant'ssentence pursuantto Section 3742(b),the defendantshallbereleased from
     the above w aiver of appellate rights. By signing this agreem ent, the defendant

     acknowledgesthathehasdiscussed theappealw aiversetforth in tllisagreem entwith his

     attorney. The defendant further agrees,together with the U nited States,to requestthat

     the districtcoul'
                     tenter a specific finding '
                                               thatthe defendant'sw aiver ofhis rightto appeal

                                                 5
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     thesentencetobeimposedinthiscasewasknowing and voluntaly.

                   The defendant further agrees that he shall im m ediately dism iss, w ith

     prejudice,his pending civil action againstthe Ullited States,captioned Al-lmarah v.
     W altron etal.,tm der Southern D istrictofFlorida case num ber20-cv-23614-DPG .

             13.   The United StatesAttorney's Office forthe Southern Districtof Florida

     further agrees not to prosecute the Defendant, SAM UEL BAPTISTE, for any other

     federal criminal conduct related to evidence seized or uncovered during the FBI

     investigation ofSAM IJEL BM TISTE between Aprilof2014 andNovem ber9,2016.
                   This is the entire agreem entand understanding betw een the U zkited States

     and the defendant. There are no other agreem ents, prom ises, representations, or

     tm derstandings.

                                          JuM ANTONIO GONZM EZ
                                          ACTING UN ITED STATES ATTORNEY


     Date: lû/ap/al                   By: #.
                                          M AR C S.AN TON
                                          A SSISTAN T U N ITED STA TES A TTORN EY


     Date:lo)>-f(z)                    By:
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                                           A SSISTAN T UN ITE               A TTORN EY


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                                           SAM UEL BA PTIST
                                           D EFEN DA N T

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